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Q: Why can't I use my Post Office Box as my shipping address?
A: We currently use only UPS and FedEx to ship our equipment. UPS & Fedll bring the system
directly to your front door. This way we know for sure that you will receive your system. Fed Ex
and UPS cannot deliver to a mailbox or post office box.
Q: What is the name of your company?
A: Senior Safe Alert.
Q: Where are you located?
A: We have several offices located all over the country, I am currently located in the Orlando Area.
(If they keep asking over and over again, have the customer hold the line for a caneellsave rep)
Q: How long has your company been in business?
A: Our company has been in business since 1980, we are the oldest and largest residential
emergency medical alert company in the nation.
Q: I thought the system was free???
A: The equipment Is absolutely free. There are no activation fees and no contract;The only thing
YOU ARE responsible for is the Emergency Medical Technician (E.M.T.) MONTHLY monitoring fee
which is $34.95 If you decide not to keep your emergency medical alert system, you can cancel
you r service at any time and there are no cancellation fees. All we ask is that you give it a try. I'm
sure you will love our Emergency Medical Alert System, it saves lives!

The "You're not charging my card today!" rebuttal:
"SirlMam" this is how it works... We charge your card or acct TODAYfor your first month's
emergency medical monitoring fee, but your billing cycle does not start until you receive the
system and activate It,which means you don't'start using the money until you actually activate
the system. Now keep in mind, your next monthly monitoring payment will not be processed for
30 days from the date you activate your system. So you don't actually pay for monitoring until
your system is activated and you are protected.DON'T wait for customer to respond***, move right on
With the confirmation.
        Now could you go ahead and read me the numbers off the front of your card to confirm
        that I have them all correct?

        If customer responds "I don't have any money in my account today':Okay do you have another
        form of payment you would rather use today? Maybe another credit/debit card? Wait for
        answer (if answer is no) = or do you have a check book and we can use your checking or
        savings acct.
        If customer responds "No" to all questions ask:"Okay, no problem, we can do what is called a
        post date, just tell me what day you will have the first month's monitor fee of $34.95
        available in your account and we will not process the $34.95 payment until that day you
        tell us. So, what day should we go ahead and process this?




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They gust won't do it without talkin                         their
Son/dau titer/husband/ki~fs

Mr. / Mrs. (                  ), I agree with you, I don't want you to make a
decision without your (Son/daughter/husband/kids). I have a great idea,
so just hear me out for a second, okay? We'll send you out the system,
we'll pay for the shipping, there will be no contract, there will be no
cancellations fees, Try It out TOGETHER with your
(Sonldaughterlhusbandlki ds) and then make a decision TOGETHER on
whether or not you want to keep it. But if you and your
(Sonfdaughter/husband/kids) decide you don't want to keep it, then there is
no contract, no cancel lation_fees, and we will pay to ship it back to us.

This way you can try it with your (Sonfdaughterlhusband/kids) and then
make a decision TOGETHER on whether or not you want to keep the
system.

Now, let's go ahead and get you signed up so you can give it a try together
with your ( Son/daughterlhusbandlkids).



A reminder of what decision they are making..,.

Remember, the only thing you are doing today is agreeing to try the system
with your (Sonldaughterlhusband/kids) so you can make a decision
together or ` whether you think the system is right for you.




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Rebuttal for "My Family is paying for it".
Mam/Sir, or Mr./Ms. you were referred to us by either by a friend, a family member or
maybe someone you know, and because you were referred, the system is completely free to you.
(Go back to script)




Rebuttal for "Who exactly referred me?"
Mam/Sir, or Mr./Ms.              for security and privacy reasons my screen does not say who
referred you, the only information i have is that you were referred to us either by a friend, a family
member or maybe someone you know, and because you were referred, the system is completely
free to you. (Go back to script)




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John..
From:                     Katie 5ylvers [katie4git@gmaii.com ]
Sent:                     Tuesday, October 29, 2013 3:25 PM
To:                       John Amberson
Subject:                  Fwd: new deals




Sent from my iPhone

Begin forwarded message:

         From: Lauren Vandewater <lauren@Iifewatch-usa.corn>
         Date: October 29, 2013 at 12:19:25 PM EDT
         To: Katie,Sylvers <katie4git0,,gmail.com >, Joseph Denaro <idenaroQhfewatch-usa.com >
         Subject: new deals

         Hey katie,

         the agents are forgetting to put a unit on the accounts they are just adding the
         extra button. can you make sure they enter the product. it is slowing down the
         processors with processing those orders


         thank
         Lauren Vandewater .
         800-716-1433 Ext 147
         Lifewatch -USA




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                                                                                  II Scri
                                 M au-o
     Hi. This is ~ with Lifewatch. I'm just giving you a courtesy call to welcome you to the Lifewatch Family. According to UPS/Fed Ex, it shows
     your equipment was delivered on Jam_. Did you receive it? ave youe        6eenn a a to hook it up. Did you test it?



                   ive it
     Tf t~di ]t_rece
     Let me check the status of the package....
     I show that it should have been delivered to the           (front door, side door, etc). Have you checked at all doors? OR checked with neighbors?

     (if~Ythe didri't'hook it up)
     Ok well do you have some time now to hook it up? I'll help walk you through it over the phone! Just open the box and let's go over the
     instructions together (follow the How to Hook Up / Test Your Lifewatch Equipment Guide in the Welcome Pack)

     ~ffRey" i n es i
     Can you test it now? I can walk you through it over the phone. Do you have a cell phone? (follow the How to Test Your Lifewatch Equipment
     Guide in the Wecome Pack)

      they are unable to talk)?
     Well I'd like to help you get this hooked up so can I call you back at a time that is better for you?




       Please keep in mind we are always adding new products and services so if you see anything advertised with a different company or
                               your needs change, please feel free to call us and I'm sure we'll be able to help.




n                       Well, it sounds_likeyouu're_all_ set with Lifewatch. Do you have any additional questions atthis time?

CD                                     4f-at-anytime you_ need bs feel free -to`call:Do you need our toll free 806#57
to                                                       iThanks so much and have a great day!
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                                 CONFIRMATION SCRIPT 12/19/13
Hi, this is                in the confirmation department. Today is (say todays date). I just want to take a
quick minute to confirm that all of your information has been entered into our computer correctly. (Confirm
Address & Home Phone)

                                     Remember we will not be able to ship you your equipment without a
**IlnotMobile Help Cellular System* *Sir/Mam
valid HOME telephone number on file. So Sir/Mam this is your home telephone number, not your cell
phone, correct?
What telephone company do you use there at home? (is it bundled with your cable company)
Also, we need an additional contact that we can list in case our shipping department has trouble reaching
you, it can be a friend, family member or neighbor? (Collect Full Name & Phone Number). And just to
confirm one last time we have it correct here in our system, do you want the necklace button or wristband?
****(only if customer asks) Most of our customers choose the necklace button.

Okay, I see here we have you set up with the medical alert system which is $        per month. You will also
receive the wrist or necklace emergency button, a voice remote and last but not least, You get Unlimited
contact with our Emergency Medical Technicians, which means you can push the button as many times as
you want to. All this is included today at no charge!
let me tell you about a new promotion we have, for only an extra $5 dollars per month we can give you an
unconditional lifetime warranty on the your equipment, which means, if a pet chews the cord or anything
goes wrong at all with your system, you are still covered 100%. We will even cover the shipping an
unlimited amount of times. This way, no matter what, we will keep you safe 24 hours a day Mays a week.
(If they agree, then do rest of confirmation script at $39.95)

(If Credit Card) I see here that we will be charging your        TODAY that ends in (read last 4 digits) for
the 1" month of the $           monthly monitoring fees. Can you please read me the numbers on the front
of the card just to make sure we have them all correct ?(get expiration date & CVC #)Okay, Now do I have
your authorization to charge your            today for $34.95/$39.95 to cover the first month of monthly
monitoring ?(or first 3 months if quarterly)

Okay, Great, Your system will be shipped via UPS or Fed Ex and will arrive at your home within in the next
10 to 14 business days.
(IfACH) I also see that you'll be using your bank account today for the monthly monitoring fee. Do you
have a credit or debit card that we can use instead? It would allow us to ship your system much faster so
we can begin protecting you right away. (If yes, go to above, if no, continue below)

 That's okay, we can use the bank account you gave us. So you'll be using your account with the routing
number that starts with          (1st 4 digits) for the $34.95 / $39.95 monthly monitoring fee. Can you
read me the whole routing and account numbers on the bottom of your check so we can make sure we get
it completely and correctly entered into the system?
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We will be processing your ach payment on your checking / savings account today. All future monthly
monitoring payments will be processed 30 days from the prior month's processing date.

If you would like to cancel any ach transaction, just call our customer service department and they will
take care of you. I will give you our customer service number as well as your customer ID number in just
a moment.

Now, don't forget to activate your system as soon as you receive it. It's very easy, it works just like a
telephone, so just plug the Medical Alert System into your telephone jack and then plug your telephone-into
our system. Then simply push the Red button on the top of the main unit. That will automatically call us
and you will hear a live representative answer through the speaker and they will talk you through the rest
of the set up. It's very easy and this will activate your system and immediately start protecting you. Now if
you can grab a pen and a paper, in a moment I will be giving you your customer ID confirmation number
and our customer service telephone number.

Company Name:



EMERGENCY ALERT
Customer Service #:
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                                                                                                Lifewatch USA
                                                                                                266 Merrick Rd Suite 104
                    LI   FE Watch USA
                    PERSONAL CAPINC SERVICE SINCE 1980
                                                                                                Lynbrook, NY 11563
                                                                                                1.800.716.1433
                                                                                                customerservice@lifewatch-usa.com

                                        lifewatch ubscrlbe and es yonder Form

    Unit ID:                                  Model :                                      Date: 7/10/2013

    Subscriber Name:                                            Male _ / Female _ Birth Date ___/—/_
    Spouses's Name:                                             Male—/Female— Birth Date
    Street Address:
    City: _                                       State:               Zip:           -
    Household Telephone #:                               Email:
    Cross Streets:                                                   Township (TX, PA, NJ Only):
    Hidden Key/Lockbox location:
    Lockbox Code:             Private Home_ /Apartment_
    Medical Information
    Medical Insurance:
    Physician's Name:                                                            Physician's Telephone #:
    Physician's Name:                                                              Physician's Telephone #:
    Preferred Hospital:
    Allergies:
    Medication Taken:

OMedication Location:

    Physical Limitations:
    _Heart                       _Hearing Impaired                     _High BP                       _Visually Impaired
    _Diabetes                    —Walker/Cane                          _Low BP                        _See Attached
    _Oxygen                         Arthritis                          _Speech Impaired

    Resnonder Information                                  Phone codes: C = cell phone, H = home phone, W = work phone
         IN ORDER OF PRIORITY              PHONE #1         PHONE         PHONE #2          PHONE        RELATIONSHIP    Must Notify     Responder    Keys
                                                             CODE                            CODE                           Y/N             Y/N       Y/N




    Check One:
    If no communication                    _ Dispatch EMS First or                _ Call Responders First
    Subscriber's Signature:
    Changes and Additions:


     Subscriber has provided LIFEWATCH with above information and acknowledges that it is accurate. Subscriber must notify   LIFEWATCH   Monitoring
     Center of any changes or additions to the above customer information.
O


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Rebuttal for "My Family is paying for it"
MamlSir, or Mr./Ms. you were referred to us by either by a friend, a family member or
maybe someone you know, and because you were referred, the system is completely free to you.
(Go back to script)




Rebuttal for "Who exactly referred me?"
MamlSir, or Mr./Ms.              for security and privacy reasons my screen does not say who
referred you, the only information i have is that you were referred to us either by a friend, a family
member or maybe someone you know, and because you were referred, the system is completely
free to you. (Go back to script)




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   Convert to Quarterly Script 1/24/2013

       Now Mr. / Mrs.                I wanted to offer you a special promotion
       that we have available today. We are willing to lower your monthly
       medical monitoring fee to just $33.33 per month. If you are willing to
       switch to our quarterly billing method, which means you pay for the first
       three months of your monthly medical monitoring service today, which
       would be only $99.99, and then you don't have another bill due for three
       months from the time you activate your system. If you are willing to use
       this method of billing, then with today's promotion we are also willing to
       give you $1000 in grocery discount coupons. These grocery coupons can
       be used at the same grocery stores that you shop at now to buy the exact
       same products that you purchase every week. You can use the $1000
       worth of coupons to save money each week on your grocery bill until
       you've spent the entire $1000. You simply select the coupons that you
       want for the products that you buy every week and that savings goes
       right into your pocket. The $1000 in grocery savings actually offsets your
       first 3 years of fees for the monitoring of your emergency medical alert
       system. This is our way of helping make our system more affordable to
       seniors without affecting your budget or changing your lifestyle. If you
       ever decide to cancel your medical monitoring service you can keep the
       $1000 in grocery savings as our gift to you. So, would you like to go ahead
       and switch to our quarterly billing and receive the $1000 in grocery
       discount coupons?

Basic Medical Alert - $99.99 (Quarterly) / $34.95 (Monthly)
VOIP Unit - $99.99 (Quarterly) / $34.95 (Monthly)
Basic/VOIP (with Spouse Button Added On) $114.99 (Quarterly) / $39.95 (Monthly)

Mobile Help Cellular—$134.85 (Quarterly) /$44.95 (Monthly)
Fall Detector System - $129.99 (Quarterly) / $45.00 (Monthly)




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John Amberson
From:                     Katie [katiewwinfc@gmail.com]
Sent:                     Tuesday, May 21, 2013 8:22 PM
To:                       Michael Medalert; johnwwirTfo@gmail.cam
Subject:                  Fwd: Canadian orders


John & Michael,

This is effective immediately per Rick.

PIease make changes on floor.

Thank you,

Katie


Begin forwarded message:

        From: Lauren Vandewater <lauren(a,lifewatch-usa.com >
        Date: May 10, 2013, 3:57:13 PM EDT
        To: Katie <katiewwinfo gmail.com >, "WorldWide InfoServiees, .Inc"
        <wwinfoservices&_mai1.com>
        Subject: Canadian orders

           Good afternoon Katie,

           see below from 5arai regarding all Canadian orders

           1) going forward on all Canada orders, here are the pricing options:
              a) $49.95/month plus $50 deposit
              b) $39.95/month plus $100 deposit
              Deposit is refundable whenever customer returns equipment
           2) lockboxes cannot be offered for Canada orders
           3) lifewatch must verbally confirm all Canadian orders. if we are unable to speak
           with customer within 2 days, account will be kicked back to call center to follow up
           with, we will not ship out without confirmation.

           Lauren Vandewater
           Order Processing Supervisor
           800-716-1433 Ext 147
           Lifewatch-USA




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John Amberson
From:                    Katie Sylvers Iketie4git@gmail.com ]
Sent:                    Monday, August 05, 2013 7:03 PM
To:                      iohn4git@gmail.corn
Subject:                 Fwd: New Order Processing Co-manager


Please print this e mail and put a copy on my entire teams desk :) also let Bryanna & Kristy know

Sent from my iPhone

Begin forwarded message:

       From: Lauren Vandewater <laurenglifewatch-usa.com >
       Date: August 5, 2013, 9:46:23 AM EDT
       To: Katie Sylvers <katie4git@ mail.com >, Joseph Denaro <idenaro@,lifewatch-usa.com >
       Subject: New Order Processing Co-manager

       Good morning Katie,

       can you please continue to copy Jessica on all save and cancel emails and for other
       issues on accounts please continue to copy myself but also add Joseph Denaro
       <,jdenaro@lifewatch-usa.com>, he will be doing the same stuff I do so anything you
       would typically email me please copy him also. there will be 2 managers in this dept
       now :)

       Thanks
       Lauren Vandewater
       Order Processing Manager
       800-716-1433 Ext 147
       Lifewatch-USA




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John Amberson
From:                    Katie Sylvers [katie4git@gmail.cornl
Sent:                    Tuesday, August 27, 2013 4:34 PM
To:                      john4git@gmail.com
Subject:                 Fwd: Return labels


Please print & have my entire team sign. Thanks
Sent from my Whone

Begin forwarded message:

       From. Lauren Vandewater <lauren _.lifewatch-usa.corn>
       Date: August 27, 2013, 2:22:58 PM EDT
       To: Katie Sylvers <katie4git{agrnaiLcam>, Joseph Denaro <jdenaro@lifewatch-usa.com >
       Subject: Return labels

       Good afternoon Katie,

       They just wanted me to send out a reminder to let you know that we de not send
       out return labels to customers. we have been getting a large increase in those
       requests and we will certainly make exceptions for certain customers depending on
       the issue but the ones we have received lately (which have been a lot) are just
       because the customers are complaining even though it is their responsibility.
       Please make sure that they agents are aware that we do not send return labels to
       customers and that it is the customers job to send it back,

       thanks so much
       Lauren Vandewater
       Order Processing Manager
       800-716-1433 Ext 147
       Lifewatch--USA




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Hi, this is William from the shipping department of the senior citizens help
program, ummm, We've been trying to reach you to uhhh set up the delivery of
your emergency medical alert system, which helps avoid an injury or death from
a fall, medical emergency or burglary, and it uhhhh says here, you are also
getting $3000 in grocery discount and eating certificates that can be used at the
same grocery stores and restaurants you shop and eat at every week, looks like
it's a system that is uhhh recommended by thousands of hospitals and medical
professionals, let's seeeeeee, (rattle papers) say's here that the system has already
been paid for, Looks like you are getting the uhh system because umm, looks
like either yourself, a friend, a family member or maybe someone you know had
experienced a FALL or medical emergency in the past, so again the system and
the $3000 in discount grocery and eating certificates have uhh already been paid
for, so there is no cost to you whatsoever, also says here that the uhh shipping
has also already been paid for. So to set up the delivery of you emergency
medical alert system and the $3000 in discount grocery and eating certificates,
 press 1 now, again to set up the shipping, press 1 now, press 5 now to decline the
shipment of your system.




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Gmail -  1:15-cv-05781 Document
                    PLEASE CEASE#:ALL
                                  14-3FURTHER
                                       Filed: 07/06/15
                                                SALES Page
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                                                             TOofTHIS
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                                                                 US Affiliates< usaffiliatesinc@gmail.com >


                           PLEASE CEASE ALL FURTHER SALES CALLS TO THIS
 PERSON
 gerardo@lifewatch-usa.com < gerardo@lifewatch-usa.com >                         Mon, Sep 24, 2012 at 3:13 PM
 To: Ben Commissions <usaffiliatescorp@gmail.com >, US Affiliates <usaffiiiatesinc@gmail.com >

   Please make sure to stop calling this customer


   We received a call from the nurse in site named           calling on
   behalf of                    at 239-           .           repports that
   Ms.       r had received a sales call from Lifewatch and informed the salesperson
   that she would think things
   over a call him back.

   Since that conversation has taken place,             h reports that the
   salesperson ans call back at least 6 times, including today and has
   show a more aggressive and rude behavior. Ms.                       now feels that
   she is being harassed and demands that all calls cease immediately.

   Please share this with our sales team as soon as you are able. Thank you.


   Gerardo "G" Duran
   Account Manager
   (516) 599-3620 Ext. 121

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         l)~n   P ERSONAL CARING SERVICE S:NCE 1980
         U




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https://mail. g oogle.com/mail/?ui=2&ik=cOabfb8c59&viev-
                                                       -pt&search=inbox&msg= l 39f9... 9/25/2012

                                                                                                   FTC-WIS-S2-00000128
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Dear Valued Customer,

      Thank you for selecting us as your Senior Medical Alert provider. As you were
promised, here is your $1000 Grocery Discount Coupon Savings Certificate at
absolutely no charge. As an added value to you, and to show our appreciation to you for
becoming a new customer, we have upgraded your certificate from $1000 to $1500 in
grocery savings coupons at absolutely no charge. We have also added an additional
$1500 in Dining Discounts, at no charge, in hopes of saving you even more money
when you dine out on the town. Both of these certificates are yours to keep, FREE of
charge, and with no obligation whatsoever. They are our gift to you.

Both the $1500 in Grocery Discount Coupons and the $1500 Dining Discount Certificate
are completely transferable so you may allow family members and friends to use them
on your behalf or even for themselves. For your convenience, every aspect of these
offers can be printed or emailed directly from your computer.

Logging onto the web site to begin your savings is very easy. You simply go to the
internet web site www.seniorgrocerysavings.com and click on the button that says SIGN
IN HERE. Then on the next web page, click the JOIN NOW button and enter the
Authorization Number and the PIN code provided to you on your certificate found
enclosed with this letter. Fill out your personal information and you are on your way to
saving money.

Your Certificates DO NOT have an expiration date, so you can use them at your leisure
until you have used all $3000 in discounts.

You may also log into your account from different computers or even share your login
with your family members, so if you do find grocery coupons or dining discounts that
you would like to share you can do so quite easily.

There are many ways to save with these amazing offers, so take some time to browse
through our web site and the links to our partner web sites. Once you get the hang of it
you will find that saving money is quite fun and easy.

Our hope is that by providing you with these Discount Coupon Savings Certificates and
the additional upgrade to our Premium $1500 in Grocery Discount Coupons and the
$1500 Dining Discounts certificate, at no charge, that you will enjoy years of savings
and possibly pass on a good word about us to your friends and family members.

Once again, we hope that you enjoy and save with our free gift to you and we would like
to say thank you for allowing us to be your Senior Medical Alert System provider.

If you have any additional questions, you can call us at 1-800-717-9295 during our
customer service hours of operation which are Monday — Friday 10am — 6pm EST

Thank You,

Lifewatch USA




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From:             John <johnwwinfo@gmail.com>
Sent:             Thursday, May 30, 2013 10:54 PM
To:               'Katie Sylvers' <katiewwinfo@gmail.com>; 'Michael Medalert'
                  <michaelmedalert@gmail.com>
Subject:          RE: Fraud Charges


Sales rep is 537 Christopher Enoveso

From: Katie Sylvers [mailto:katiewwinfo@gmail.com]
Sent: Thursday, May 30, 2013 6:12 PM
To: Michael Medalert; johnwwinfo@gmail.com
Subject: Fwd: Fraud Charges

Please see who the sales rep is on this account

Sent from my iPhone

Begin forwarded message:

      From: Sarai Baker <sarai@lifewatch-usa.com>
      Date: May 30, 2013, 5:05:18 PM EDT
      To: Katie <katiewwinfo@gmail.com>
      Subject: Fwd: Fwd: Fraud Charges

      Katie,
      Please take a look below. Do you have any info that can shed some light on this?



      ---------- Forwarded message ----------
      From: Pam Cohen <pam@lifewatch-usa.com>
      Date: Thu, May 30, 2013 at 1:41 PM
      Subject: Fwd: Fraud Charges
      To: Sarai Baker <Sarai@lifewatch-usa.com>

      Client is             - this is the second one this week where customer claims right after
      they ordered the service (US Affiliates) they had strange charges on their credit card, then
      cancelled. I am still trying to reach the other one for him to fax or email me his credit card
      statement.

      ---------- Forwarded message ----------
      From: Becky Daleo <becky@lifewatch-usa.com>
      Date: Thu, May 30, 2013 at 1:32 PM
      Subject: Fraud Charges
      To: Alex Lindsley <Alex@lifewatch-usa.com>, Pam Cohen <Pam@lifewatch-usa.com>

      I received a call from this client's daughter                                . Here's a copy of the
      interaction from the account. 
      Manager call           daugther, very upset that sales rep misled mom, said her children bought her this unit,
      only paying $34.95 monthly, wouldn't hang up until she gave credit card #, daughter very upset-also stated next
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     day 5/16/2013 charge from                       L $219.25                        l & another charge 5/16/2013 from
                           appeared on her moms discover card. they are disputing those charges with discover.
     Wants to return unit due to being misled & thinks we r a fraud, explained we have 0 tolerance for this, we will
     terminate sales rep who did this, doesnt want-unit has not been opened, advised to go to fed ex & return to
     sender-if they do not accept it, will send return shipping label to customer. gave my name & ext in case of any
     problems, will call me when unit returned for refund, at that time she will give me new discover card number for
     refund, called daughter and left message, would like to see if she can fax/email me her mom's discover card bill
     to see charges & have it investigated, left vm on                #
                 did fax the statement to me and I have attached it. No agent name shows on the admin account, it
     just shows us Affiliates Data Entry.
     Thanks!



     --
     Warm Regards,
     Becky 
     Customer Service Assistant Manager
     1-800-716-1433 ext 123




     --
     Warm Regards,

     Pam Cohen
     Customer Service/Retention Manager
     516-582-1214 Cell
     1-800-716-1433, ext. 105 Work




     --
     Sarai Baker, Director of Operations
     Direct Line 516-405-4600
     LIFEWatchUSA


     --
     Sarai Baker, Director of Operations
     Direct Line 516-405-4600
     LIFEWatchUSA




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From:           Katie Sylvers <katie4git@gmail.com>
Sent:           Tuesday, August 20, 2013 8:25 PM
To:             john4git@gmail.com
Subject:        Fwd: Misleading sales rep


Please pull confirmation call and let me know if customer agreed to charging today

Sent from my iPhone

Begin forwarded message:

      From: "EVAN@Lifewatch-USA.com" <evan@lifewatch-usa.com>
      Date: August 20, 2013, 3:58:26 PM EDT
      To: Sarai Baker <sarai@lifewatch-usa.com>
      Cc: Katie Sylvers <katie4git@gmail.com>
      Subject: Re: Misleading sales rep

      We'll this is hwy we need activations done­

      Evan Sirlin LIFEWATCH­USA.com
      From: Sarai Baker
      Sent: Tuesday, August 20, 2013 3:30 PM
      To: Evan Sirlin; Mitchel.may@earthlink.net
      Subject: Fwd: Misleading sales rep

      here is a dispute where customer was told she wouldnt' have to pay until she activates it. i have gotten others like
      this. was rick told to remove this from his pitch?

      ---------- Forwarded message ----------
      From: Yokasta Disla <ydisla@lifewatch-usa.com>
      Date: Tue, Aug 20, 2013 at 3:21 PM
      Subject: Misleading sales rep
      To: Sarai Baker <Sarai@lifewatch-usa.com>
      Cc: Pam Cohen <Pam@lifewatch-usa.com>


      Good afternoon,

      This is another case of the many where the sales rep told her she would not have to pay for the unit unless she
      activates it. now this client has had our unit since May and refuses to pay because of what the sales rep has told her.

      Thank you,
      Yokasta

                                 Customer ID
                                       Name
                                     Address
                                             Houston, TX
                                                  - Replace - Local - Map
                                               Verify
                                      Phone 1(713)              Home



      --
      Sarai Baker, Director of Operations
      Direct Line 516-405-4600
      LIFEWatchUSA



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From:            Katie Sylvers <katie4git@gmail.com>
Sent:            Tuesday, August 6, 2013 5:55 PM
To:              John Amberson <john4git@gmail.com>
Subject:         Fwd: Complaints




---------- Forwarded message ----------
From: Pam Cohen <pam@lifewatch-usa.com>
Date: Tue, Aug 6, 2013 at 1:42 PM
Subject: Complaints
To: Katie Sylvers <katie4git@gmail.com>
Cc: Evan Sirlin <Evan@lifewatch-usa.com>, Mitch May <Mitch@lifewatch-usa.com>, Sarai Baker
<Sarai@lifewatch-usa.com>


We have been getting countless calls and cancellations from Subscribers that they are being told in the
initial Sales Pitch that they are being told "Congratulations...someone paid $400 for the service for
you..." In addition to that, they are being told they will have the equipment in 3 to 5 days. The most
recent one called in a few minutes ago...             ID             .

I, of course, always try to work around it by saying Yes, the equipment is free. You are only paying for
the Monitoring Service, etc. etc. In many cases, however, at that point, the Subscribers and their
families have lost complete trust in us.

     also complained that whatever number the initial call came from was not a working number. So,
when she did not receive her equipment after 3 or 4 days, she panicked because she had no one to
contact.

The Script must be reworked--if, in fact, subscribers are being told someone paid for the service for
them, please stop that, and please tell the subscribers their equipment will be received in 7 to 10 business
days, not 3 to 5 business days.

Incidentally, I could not convince      , no matter what I offered-a free month, free button on a
wristband as requested, lower her rate, my personal cell # as the contact #. Our reps, as well as myself,
spend countless hours trying to resolve these issues. Unfortunately, this is another that we cannot
"save"--and our reputation is further damaged.

I am drafting this email to you, while I have    and her son telling me about all the Scam Reports they
have read about and seen on their local News about Medical Alarm Companies.


Warm Regards,

Pam Cohen
Customer Service/Retention Manager
516-582-1214 Cell
1-800-716-1433, ext.105 Work

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From:           Katie Sylvers <katiewwinfo@gmail.com>
Sent:           Saturday, July 20, 2013 5:22 PM
To:             john4git@gmail.com
Subject:        Fwd: Do not call


Please make sure this gets removed, per Rick

Sent from my iPhone

Begin forwarded message:

      From: Lifewatch-EVAN <evan@lifewatch.net>
      Date: July 20, 2013, 12:22:31 PM EDT
      To: "sarai@lifewatch-usa.com sarai office" <sarai@lifewatch-usa.com>, Katie C
      <katiewwinfo@gmail.com>
      Subject: Fw: Do not call



      Evan Sirlin
      From:
      Sent: Saturday, July 20, 2013 12:13 PM
      To: evan@lifewatch.net
      Subject: Do not call

      Do not ever call me again. Take my number off your auto call list: 901      . I have reported you to
      the National Do Not Call registry.




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From:           John Amberson <john4git@gmail.com>
Sent:           Saturday, July 20, 2013 11:03 PM
To:             'Phillips IT services' <philitservice@gmail.com>
Subject:        FW: Do not call


901

Please DNC


Thanks



From: Katie Sylvers [mailto:katiewwinfo@gmail.com]
Sent: Saturday, July 20, 2013 1:22 PM
To: john4git@gmail.com
Subject: Fwd: Do not call

Please make sure this gets removed, per Rick

Sent from my iPhone

Begin forwarded message:

      From: Lifewatch-EVAN <evan@lifewatch.net>
      Date: July 20, 2013, 12:22:31 PM EDT
      To: "sarai@lifewatch-usa.com sarai office" <sarai@lifewatch-usa.com>, Katie C
      <katiewwinfo@gmail.com>
      Subject: Fw: Do not call



      Evan Sirlin
      From:
      Sent: Saturday, July 20, 2013 12:13 PM
      To: evan@lifewatch.net
      Subject: Do not call

      Do not ever call me again. Take my number off your auto call list: 901      . I have reported you to
      the National Do Not Call registry.




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From:           Katie Sylvers <katiewwinfo@gmail.com>
Sent:           Monday, June 10, 2013 10:30 PM
To:             john4git@gmail.com
Subject:        Fwd: pre-ship script (guidelines)
Attach:         Call Script for Pre Ship for Call Centers.docx; ATT00261.htm


Can you please print 20 copies of this attachment and wait for instructions tomorrow on what to do with
it :)

Thanks

Sent from my iPhone

Begin forwarded message:

      From: Sarai Baker <sarai@lifewatch-usa.com>
      Date: June 10, 2013, 5:17:08 PM EDT
      To: Katie <katiewwinfo@gmail.com>
      Subject: pre-ship script (guidelines)



      --
      Sarai Baker, Director of Operations
      Direct Line 516-405-4600
      LIFEWatchUSA




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                                                                                                                                                       Call Script – “Pre Ship” 
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                                                                                  Hi. This is _______ with Lifewatch. This is a courtesy call to welcome you to the Lifewatch Family and to confirm your order for a Lifewatch Medical Alarm System.
                                                                                         
                                                                                         
                                                                                                                  In order to get your order shipped out immediately, I need to quickly confirm some basic information with you:
                                                                                                                                                                               Home address  
                                                                                                                                                                         Home phone number 
                                                                                                                                                                          Home phone service 
                                                                                                                                                                               Lockbox code 
                                                                                                                                                                    Shipping Address (if different)
                                                                                                       Hold on one moment, let me get our Verification dept on the line in order to confirm your billing information…(516‐405‐4588). 
                                                                                                                                          This call may be monitored or recorded. May I continue? 
                                                                                                                                                                       
                                                                                                           This is _______ with Lifewatch ##### (dealer #). I have Mr/Mrs _______________ on the line to confirm his/her order. 
                                                                                                              Today’s date is __/__/__. Customer ID _________. For the record, please state your First name …. and Last name… 
                                                                                                                                                                       
                                                                                          Mr/Mrs _____, you are confirming your order for the Lifewatch service and agree to pay $___  every mth/qtr/year, to be automatically taken out of your 
                                                                                                             ________ (checking account/MC/VISA/DISC/AMEX) ending in _________ (last four digits). Do you agree? Excellent.  
                                                                                                                                                                       
                                                                                                       Do I have your authorization to charge your _______ today for the $______ to cover the first mth/qtr/year of the monitoring? 
                                                                                                                                                                       
                                                                                        Our payment will appear on your credit card/checking account statement as a draft of $____ each mth/qtr/year on the ____ of the month as Medical Alarms . 
                                                                                                                                                                       
                                                                                    
                                                                                                        That is all the information that I need from you at this time. Before I ship it out, did you have any questions about your order?
                                                                                    
                                                                                        Once payment is cleared we will ship your Emergency Medical Alert system to you immediately. It will arrive to you within the next 5‐7 business days. We ask 
                                                                                       that once you receive it give us a call so we can walk you through plugging the unit in, range testing, etc. It is very easy to do! There will also be some paperwork 
                                                                                                  that needs to be filled out and sent back to us within 10 business days. We can assist you with that also. And again, it is all very easy to do. 
                                                                                                      If you have a pen and paper I would like to give you our call back number. Please feel free to call us at any time at 1‐800‐716‐1433
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From:           Jake Walters <jakewwinfo@gmail com>
Sent:           Thursday, March 28, 2013 3:34 PM
To:             John <johnmedalert@gmail com>
Subject:        Fwd: Example of why we should not let WWIS run real time charges




Sent from my iPhone

Begin forwarded message:

     From: Katie <katiewwinfo@gmail com>
     Date: March 28, 2013, 11:32:55 AM EDT
     To: Jake Walters <jakewwinfo@gmail com>
     Subject: Fwd: Example of why we should not let WWIS run real time charges



     Sent from my iPad

     Begin forwarded message:

            From: "evan Sirlin" <evan@lifewatch-usa com>
            Date: March 28, 2013, 11:20:31 AM EDT
            To: "Katie C" <katiewwinfo@gmail com>
            Subject: Fw: Example of why we should not let WWIS run real time charges
            Reply-To: evan@lifewatch-usa com

            Please address these issues with G and sarai so we don't kill processor-
            Sent from my Verizon Wireless BlackBerry

            From: Gerardo Duran <gerardo@lifewatch-usa com>
            Date: Thu, 28 Mar 2013 11:09:35 -0400
            To: <evan@lifewatch-usa com>
            Cc: Sarai Baker<Sarai@lifewatch-usa com>
            Subject: Re: Example of why we should not let WWIS run real time charges

            In this case, WWIS agent Amanda Summers entered the credit card and run the charge, it came back declined,
            then she went and repeat the same process 15 times in a 30 min. period. This issue was happening before and in
            some of this cases the customer was being contacted by their bank for the multiple un-successful attempts to
            get money out from their account.

            Gerardo "G" Duran
            CRM ANALYST
            (516) 599-3620 Ext. 121




            On Thu, Mar 28, 2013 at 10:57 AM, evan Sirlin <evan@lifewatch-usa com> wrote:
             Explain more to me
             Sent from my Verizon Wireless BlackBerry

              From: Gerardo Duran <gerardo@lifewatch-usa com>
              Date: Thu, 28 Mar 2013 10:31:58 -0400
              To: Evan Sirlin<Evan@lifewatch-usa com>; Mitch May<Mitchel may@earthlink net>
              Cc: Sarai Baker<Sarai@lifewatch-usa com>; Paule Oliveri<Paule@lifewatch-usa com>
              Subject: Example of why we should not let WWIS run real time charges

              Here is an example of something that was happening before and now that they can charge themselves it's going
              to create an increase of chargebacks.

              They don't understand that a credit card can only be run max 3 times from the same company in a 24 hour
              period.

                    Customer ID


                        Address
                                                                   Harlingen, TX
                                                                   Verify - Replace - Local - Map
                        Phone 1                                    (956)




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        Gerardo "G" Duran
        CRM ANALYST
        (516) 599-3620 Ext. 121




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